 

	
	
	
	
	OSCN Found Document:IN RE: RULES FOR DISTRICT COURTS OF OKLAHOMA

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN RE: RULES FOR DISTRICT COURTS OF OKLAHOMA2017 OK 53Case Number: SCBD-4553Decided: 06/19/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 53, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: RULES FOR DISTRICT COURTS OF OKLAHOMA [12 O.S. ch. 2, app.]


ORDER GRANTING AMENDMENT TO RULES FOR DISTRICT COURTS OF OKLAHOMA
This matter comes on before this Court upon an Application to amend the Rules for District Courts of Oklahoma, 12 O.S. ch. 2, app., by adding District Court "Rule 33 Limited Scope Representation," as proposed and set out in its entirety in Exhibit "A" attached hereto. This Court finds that it has jurisdiction over this matter and that the Application should be granted.
IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that the amendment to the Rules for District Courts of Oklahoma is hereby granted and that new "Rule 33 Limited Scope Representation" shall be incorporated therein, as set out in Exhibit "A" attached hereto.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 19th day of June, 2017.

/S/CHIEF JUSTICE

Combs, C.J., Kauger, Watt, Edmondson, Colbert, Reif and Wyrick, JJ., concur;
Gurich, V.C.J. and Winchester, J., not voting.
&nbsp;


&nbsp;
Rules for District Courts of OklahomaOkla. Stat. tit. 12ch. 2, app.Rule 33. Limited Scope Representation
Rule 33. Limited Scope Representation
A lawyer providing limited scope representation under Rule 1.2 (c) of the Oklahoma Rules of Professional Conduct may draft pleadings or other documents for a pro se litigant to file with or present to a district court without the lawyer entering an appearance in the matter. A lawyer shall disclose such assistance by indicating their name, address, bar number, telephone number, other contact information and, optionally, a signature on said pleading or other document with the phrase "No appearance is entered as counsel of record."




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. Rule 33, Limited Scope RepresentationCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
